









 
















&nbsp;

&nbsp;

&nbsp;

COURT
OF APPEALS

SECOND DISTRICT OF
TEXAS

FORT
WORTH

&nbsp;

NO. 02-10-00293-CV 

&nbsp;


 
  
  In re Gerry Lynn Norman
  
  
  &nbsp;
  
  
  RELATOR
  &nbsp;
  
 
 
  
  &nbsp;
  
 


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&nbsp;

ORIGINAL PROCEEDING

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MEMORANDUM OPINION[1]

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; ------------

The
court has considered relator’s petition for writ of mandamus and is of the
opinion that relief should be denied.&nbsp;
Accordingly, relator’s petition for writ of mandamus is denied.

&nbsp;

&nbsp;

PER CURIAM

&nbsp;

&nbsp;

PANEL:&nbsp;
GABRIEL, J.; LIVINGSTON, C.J.; and WALKER, J.

&nbsp;

DELIVERED:&nbsp;
August 20, 2010











&nbsp;&nbsp;&nbsp; [1]See
Tex. R. App. P. 47.4.







